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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES

Date: 08/09/2018                 Time: 12:11-1:14              Judge: LAUREL BEELER
                                 1 hour, 3 minutes
Case No.: 17-cv-02056-LB         Case Name: Zeen v. County of Sonoma

Attorney for Plaintiff: John Scott
Attorney for Defendant: Bonnie Hamilton

Deputy Clerk: Elaine Kabiling                          Court Reporter: Lydia Zinn


                                    PROCEEDINGS
                             PRETRIAL CONFERENCE - HELD

12:11 PM      Court and counsel are present in open court. Court and counsel discuss trial
              scheduling, jury questionnaire and other trial logistics as set forth on the record.
              Parties stipulate to a panel of forty (40) prospective jurors. Court and counsel
              discuss motions in limine.
1:14 PM       Matter is continued to Monday, August 20, 2018 at 8:30 a.m. for Jury Trial.
              Court adjourns.
